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  August 7, 2024

  VIA ECF

  Hon. Brian M. Cogan, U.S.D.J.
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

           Re:   Ruben Wills v. Microgenics Corporation and Thermo Fisher Scientific Inc.
                 Civil Action No. 1:20-cv-04432-BMC-VMS

  Dear Judge Cogan:

          This office represents Defendants Microgenics Corporation and Thermo Fisher Scientific
  Inc., in the above-captioned matter. Defendant Microgenics Corporation (“Microgenics”)
  respectfully requests a pre-motion conference to seek permission to file a Motion for Summary
  Judgment pursuant to Rule 56.

          Plaintiff’s claims arise from a positive urinalysis drug screen performed while he was in
  the custody of the Department of Corrections and Community Supervision (“DOCCS”). DOCCS
  personnel conducted the screen using a urinalysis analyzer and assay supplied by Microgenics,
  and Plaintiff alleges the screen returned a “false positive” for buprenorphine, prompting DOCCS
  to discipline him. Am. Compl. ¶¶ 84–85, 87–90. At that time, Microgenics was under contract to
  supply DOCCS with urinalysis analyzers, immunoassays, and certain product-support services.
  Contract No. CC161458. The contract identified the drugs-of-abuse screening assays DOCCS
  would purchase from Microgenics. Id. The contract also required that Microgenics provide
  installation and training services, id. at 25–26, and offer disciplinary hearing testimony about its
  drug-screen products on an “as needed” basis, id. at 27.

         In the Complaint, Plaintiff claims that Microgenics’ drug-screen analyzers and
  immunoassays produce false positive results generally and that Microgenics was therefore
  negligent in supplying its products to DOCCS and in training DOCCS personnel to use the
  products. See id. ¶¶ 49–62. For the reasons that follow, Plaintiff has failed to carry his burden as a
  matter of law.

           1. Microgenics neither Conducted nor Administered Plaintiff’s Drug Test and
              Therefore Owed No Duty to Plaintiff.

         New York law dictates that a contractual undertaking “is not a source of tort liability to
  third parties.” Landon v. Kroll Lab. Specialists, Inc., 999 N.E.2d 1121, 1124 (N.Y. 2013).

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  Plaintiff’s allegations attempt to fit within the “force or instrument of harm” exception to this no-
  duty rule, as set forth in Landon. Landon’s progeny, Pasternack v. Lab. Corp. of Am. Holdings,
  59 N.E.3d 485, 490 (N.Y. 2016), instructs that a tort duty may be owed to a third-party “limited to
  ‘th[o]se circumstances’” in which a “drug laboratory[ ]” or “program administrator” fails to
  “adhere to professionally accepted scientific testing standards in the testing of the biological
  sample.” That ruling squares with Landon’s logic that “[t]he laboratory is also in the best position
  to prevent false positive results.” 999 N.E.2d at 1124.

         Nearly five years of discovery demonstrate that Microgenics was neither a drug testing
  laboratory nor a program administrator, and it did not conduct Plaintiff’s urinalysis test; DOCCS
  conducted the test and administered the program per DOCCS’ Directive 4937, codified in 7
  NYCRR 1020. Microgenics was merely a vendor who supplied the testing apparatus and assays to
  DOCCS, which is not a sufficient basis to impose liability under Landon and Pasternack.

           2. Even if Microgenics Owed Plainitff a Duty, Plaintiff has not Produced
              Competent Evidence Disputing Plaintiff’s Positive Test Result, and Plaintiff
              Cannot Prove that the Microgenics’ Buprenorphine II Test was Unreliable.

          Even assuming Microgenics owed a duty to Plaintiff, which it did not, Plaintiff produced
  no competent evidence supporting his claim that his drug test result was false. Plaintiff’s entire
  case is based on his self-serving testimony that he did not use drugs. “[A] nonmoving party’s self-
  serving statement, without direct or circumstantial evidence . . ., is insufficient to defeat a motion
  for summary judgment.” Walker v. Carter, 210 F.Supp.3d 487. 503 (S.D.N.Y. 2016). Plaintiff has
  presented no proof beyond his own testimony that his test result was false. DOCCS discarded
  Plaintiff’s urine after the drug screen. At the very least, expert testimony is required to prove that
  the Microgenics’ buprenorphine assay caused Plaintiff’s alleged false positive result. In re Mirena
  IUS Levonorgestrel-Related Prods. Liab. Litig, 387 F. Supp. 3d 323 (S.D.N.Y. 2019). Yet,
  Plaintiff’s own expert does not opine that Plaintiff’s test result was false and admits it may very
  well have been accurate. Without an ability to establish that Plaintiff’s test result was in fact false,
  and that Microgenics’ assay caused that false result, both the elements of breach and causation fail.

          Additionally, Plaintiff has produced nothing to dispute abundant scientific evidence
  demonstrating that the Microgenics’ Buprenorphine II assay has an accuracy rate that exceeds
  98%. In Pernazo v. Coughlin, 850 F.2d 125, 126 (2d Cir. 1988), the Second Circuit explicitly held
  that an immunoassay with 98% or greater accuracy satisfies due process in the context of inmate
  discipline, even if that assay returns some false results. Plaintiff’s expert opines in conclusory
  fashion that the Microgenics Buprenorphine II assay is “unreliable” but engaged in no qualitative
  analysis of the assay, the testing methodology, or other scientific investigation that leads to a
  conclusion that the assay is less than 98% accurate, let alone “unreliable.” At the end of the day,
  no evidence supports Plaintiff’s promise to prove that Microgenics “designed, manufactured, and
  sold a system that returned a high rate of false positives in violation of the relevant professional
  standards.” (Doc. 57, Memorandum Decision and Order, 05/07/21, p. 3).




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           3. Plaintiff’s Alleged Damages Were Not Caused by Microgenics.

          As noted, Microgenics did not administer the drug testing program at DOCCS;
  Microgenics manufactured and supplied the assay that DOCCS used to test Plaintiff’s urine. It was
  DOCCS that collected and stored Plaintiff’s sample, DOCCS that tested his urine, DOCCS medical
  personnel that were supposed to conduct a medical inquiry for cross-reactivity per Directive 4937,
  DOCCS that issued a misbehavior report, DOCCS that held a disciplinary hearing wherein
  Plaintiff was able to present evidence and call witnesses in his defense, and DOCCS that
  determined that Plaintiff violated its drug use policy. DOCCS suspended all sanctions it imposed
  on Plaintiff. At a separate work release hearing, DOCCS removed Plaintiff from the work release
  program (based on various considerations). All of those intervening steps and judgments exercised
  by various DOCCS officials serve to sever whatever thin causal chain existed between
  Microgenics and Plaintiff. Dufort v. City of New York, 874 F.3d 338, 352 (2d Cir. 2017).

           4. Plaintiff’s Alleged Injuries Are Not Legally Cognizable.

          Plaintiff was not punished as a result of his positive drug test; his sentence was suspended
  and never imposed. However, Plaintiff still seeks to recover damages for emotional distress and
  removal from Temporary Work Release that DOCCS imposed after a hearing subsequent to and
  separate from his drug use hearing. Those damages are not cognizable against Microgenics. First,
  to recover for emotional damages in the absence of a direct physical injury Plaintiff must establish
  that his claim has an “assurance of genuineness,” such as the false claim of a family member’s
  death or mishandling of a corpse. Taggart v. Costabile, 14 N.Y.S. 388, 395-96 (2015). No similar
  assurance of genuineness is present in this case. Second, Plaintiff was removed from Temporary
  Work Release at a subsequent DOCCS hearing, specific to his work release status. Thus, his
  removal cannot plausibly be attributable to Microgenics.

           5. Plaintiff is Seeking to Recover for Wrongful Confinement and Malicious
              Prosecution, Disguised as Negligence.

           Plaintiff’s negligence claim against Microgenics is in reality two separate claims for
  wrongful confinement and malicious prosecution. New York and the Second Circuit are clear:
  claims for wrongful confinement and malicious prosecution are not to be subsumed under a claim
  of negligence, and the claim of negligence is dismissed in those instances. Nazario v State of New
  York, 24 Misc 3d 443, 455 (Ct C1 2009), affd 75 A.D.3d 715 (3d Dept 2010). “Loss of liberty” is
  clearly a claim for wrongful confinement, and the allegation that Plaintiff was wrongfully punished
  is clearly a claim of malicious prosecution. Under both theories, Plaintiff cannot survive summary
  judgment, as he fails at the outset to satisfy the respective elements of those claims. Posr v. Court
  Officer Shield #207, 180 F.3d 409, 417 (2d Cir. 1999) (malicious prosecution elements); Bernard
  v. United States, 25 F.3d 98, 102 (2d Cir. 1994) (wrongful confinement elements). Further, there
  is no evidence that Plaintiff lost his liberty or that his incarceration was extended based on the
  positive drug test.




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           Because Plaintiff cannot establish duty, breach, or causation, nor has he alleged cognizable
  damages, his claims as to Microgenics must be dismissed. At the close of discovery there are no
  triable issues of material fact and dismissal with prejudice against Microgenics is warranted.

                                                    Respectfully Submitted,

                                                    BOWMAN AND BROOKE LLP

                                                    /s/ Christopher R. Carton

                                                    Christopher R. Carton
                                                    Managing Partner
  CRC/la




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